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                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF ALASKA

UNITED STATES OF AMERICA,                      No.   3:24-cr-00099-SLG-KFR

                     Plaintiff,                COUNTS 1, 8, 10, 12, 14, 16, 18, 20, 22:
                                               THREATS AGAINST FEDERAL JUDGE
      vs.                                       Vio. of 18 U.S.C. § 115(a)(1)(B)
PANOS ANASTASIOU,                              COUNTS 2-7, 9, 11, 13, 15, 17, 19, 21:
                                               THREATS IN INTERSTATE
                     Defendant.                COMMERCE
                                                Vio. of 18 U.S.C. § 875(c)


                                      INDICTMENT

       The Grand Jury charges that:

                                  GENERAL ALLEGATIONS

1.     At all times relevant to this Indictment:

       a.     Supreme Court Justices 1-6 were justices of the Supreme Court of the

              United States.

       b.     The Supreme Court of the United States maintained a publicly-accessible

              website which allowed members of the public to submit a message to the


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              Supreme Court through the internet, an instrumentality of interstate and

              foreign commerce.

       c.     Family Members 1 and 2, are family members of, respectively, Supreme

              Court Justices 1 and 2.

2.     Between March 10, 2023, and July 16, 2024, defendant, PANOS ANASTASIOU

sent and caused to be transmitted through the internet over 465 messages to the Supreme

Court via an online portal.

3.     ANASTASIOU intended for Supreme Court Justices 1-6 to learn of these

messages and their contents.

4.     Beginning on or about January 4, 2024, ANASTASIOU began sending messages

intended to threaten harm and convey threats of harm towards Supreme Court Justices 1-

6 and Family Members 1 and 2. The messages contained violent, racist, and homophobic

rhetoric coupled with threats of assassination via torture, hanging, and firearms, and

encouraged others to participate in the acts of violence.

5.     Some of these threats were intended to intimidate Supreme Court Justices 1-6 and

retaliate against them for official actions Supreme Court Justices 1-6 had taken in their

official capacity as federal judges.

                                         COUNT 1

6.     Paragraphs 1-5 of this Indictment are incorporated by reference as if set out herein.

7.     On or about January 4, 2024, in the District of Alaska, the defendant, PANOS

ANASTASIOU, transmitted and caused to be transmitted, a threat to assault, kidnap, and

murder Supreme Court Justice 1, a Justice of the United States Supreme Court, with


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intent to impede, intimidate, and interfere with Supreme Court Justice 1 while engaged in

the performance of official duties, and to retaliate against Supreme Court Justice 1 on

account of the performance of official duties.

8.     All of which is in violation of 18 U.S.C. §115(a)(1)(B).

                                        COUNT 2

9.     Paragraphs 1-5 of this Indictment are incorporated by reference as if set out herein.

10.    On or about January 4, 2024, in the District of Alaska, the defendant, PANOS

ANASTASIOU, knowingly and willfully did transmit in interstate and foreign commerce

from the State of Alaska to the District of Columbia, a communication, which

communication contained a threat to murder Supreme Court Justice 1 by “providing the

rope” to “hang[]…from an Oak tree.”

11.    All of which is in violation of 18 U.S.C. § 875(c).

                                        COUNT 3

12.    Paragraphs 1-5 of this Indictment are incorporated by reference as if set out herein.

13.    On or about the May 10, 2024, in the District of Alaska, the defendant, PANOS

ANASTASIOU, knowingly and willfully did transmit in interstate and foreign commerce

from the State of Alaska to the District of Columbia, a communication, which

communication contained a threat to murder Supreme Court Justice 1 by “lynching.”

14.    All of which is in violation of 18 U.S.C. § 875(c).

                                        COUNT 4

15.    Paragraphs 1-5 of this Indictment are incorporated by reference as if set out herein.

16.    On or about the May 16, 2024, in the District of Alaska, the defendant, PANOS


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ANASTASIOU, knowingly and willfully did transmit in interstate and foreign commerce

from the State of Alaska, to the District of Columbia, a communication, which

communication contained a threat to murder Supreme Court Justice 2, by “putting a

bullet in his […] head.”

17.    All of which is in violation of 18 U.S.C. § 875(c).

                                          COUNT 5

18.    Paragraphs 1-5 of this Indictment are incorporated by reference as if set out herein.

19.    On or about the May 17, 2024, in the District of Alaska, the defendant, PANOS

ANASTASIOU, knowingly and willfully did transmit in interstate and foreign commerce

from the State of Alaska, to the District of Columbia, a communication, which

communication contained a threat to murder Supreme Court Justices 1 and 2, and Family

Members 1 and 2, by threatening to send “fellow veterans” to “spray” their homes with

bullets “hopefully killing” them.

20.    All of which is in violation of 18 U.S.C. § 875(c).

                                          COUNT 6

21.    Paragraphs 1-5 of this Indictment are incorporated by reference as if set out herein.

22.    On or about the May 18, 2024, in the District of Alaska, the defendant PANOS

ANASTASIOU, knowingly and willfully did transmit in interstate and foreign commerce

from the State of Alaska, to the District of Columbia, a communication, which

communication contained a threat to murder Supreme Court 2, and Family Member 2,

specifically threatening to “put a bullet” in their heads.

23.    All of which is in violation of 18 U.S.C. § 875(c).


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                                         COUNT 7

24.    Paragraphs 1-5 of this Indictment are incorporated by reference as if set out herein.

25.    On or about the June 18, 2024, at 11:48 a.m. Alaska time, in the District of Alaska,

the defendant PANOS ANASTASIOU, knowingly and willfully did transmit in interstate

and foreign commerce from the State of Alaska, to the District of Columbia, a

communication, which communication contained a threat to murder Supreme Court

Justices 1-6, specifically threatening to kill them using a firearm.

26.    All of which is in violation of 18 U.S.C. § 875(c).

                                         COUNT 8

27.    Paragraphs 1-5 of this Indictment are incorporated by reference as if set out herein.

28.    On or about the June 18, 2024, at 11:48 a.m. Alaska time, the defendant, PANOS

ANASTASIOU, transmitted and cause to be transmitted, a threat to assault, kidnap, and

murder Supreme Court Justices 1-6, Justices of the United States Supreme Court with

intent to impede, intimidate, and interfere with Supreme Court Justices 1-6 while engaged

in the performance of official duties, and to retaliate against Supreme Court Justices 1-6

on account of the performance of official duties.

29.    All of which is in violation of 18 U.S.C. §115(a)(1)(B).

                                         COUNT 9

30.    Paragraphs 1-5 of this Indictment are incorporated by reference as if set out herein.

31.    On or about the June 18, 2024, at 3:21 p.m. Alaska time, in the District of Alaska,

the defendant PANOS ANASTASIOU, knowingly and willfully did transmit in interstate

and foreign commerce from the State of Alaska, to the District of Columbia, a


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communication, which communication contained a threat to murder Supreme Court

Justices 1 and 2, specifically threatening to torture and execute them using a firearm.

32.    All of which is in violation of 18 U.S.C. § 875(c).

                                        COUNT 10

33.    Paragraphs 1-5 of this Indictment are incorporated by reference as if set out herein.

34.    On or about the June 18, 2024, at 3:21 p.m. Alaska time, in the District of Alaska,

the defendant, PANOS ANASTASIOU, transmitted and cause to be transmitted, a threat

to assault, kidnap, and murder Supreme Court Justices 1 and 2, Justices of the United

States Supreme Court with intent to impede, intimidate, and interfere with Supreme Court

Justices 1 and 2 while engaged in the performance of official duties, and to retaliate

against Supreme Court Justices 1 and 2 on account of the performance of official duties.

35.    All of which is in violation of 18 U.S.C. §115(a)(1)(B).

                                        COUNT 11

36.    Paragraphs 1-5 of this Indictment are incorporated by reference as if set out herein.

37.    On or about the July 1, 2024, at 7:28 a.m. Alaska time, in the District of Alaska,

the defendant PANOS ANASTASIOU, knowingly and willfully did transmit in interstate

and foreign commerce from the State of Alaska, to the District of Columbia, a

communication, which communication contained a threat to murder Supreme Court

Justices 1-6, specifically threatening to torture and execute them by “assassination.”

38.    All of which is in violation of 18 U.S.C. § 875(c).




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                                       COUNT 12

39.    Paragraphs 1-5 of this Indictment are incorporated by reference as if set out herein.

40.    On or about the July 1, 2024, at 7:28 a.m. Alaska time, in the District of Alaska,

the defendant, PANOS ANASTASIOU, transmitted and cause to be transmitted, a threat

to assault, kidnap, and murder Supreme Court Justices 1-6, Justices of the United States

Supreme Court with intent to impede, intimidate, and interfere with Supreme Court

Justices 1-6 while engaged in the performance of official duties, and to retaliate against

Supreme Court Justices 1-6 on account of the performance of official duties.

41.    All of which is in violation of 18 U.S.C. §115(a)(1)(B).

                                       COUNT 13

42.    Paragraphs 1-5 of this Indictment are incorporated by reference as if set out herein.

43.    On or about the July 1, 2024, at 6:18 p.m. Alaska time, in the District of Alaska,

the defendant PANOS ANASTASIOU, knowingly and willfully did transmit in interstate

and foreign commerce from State of Alaska, to the District of Columbia, a

communication, which communication contained a threat to murder Supreme Court

Justices 1-6, specifically threatening to execute them by “assassination.”

44.    All of which is in violation of 18 U.S.C. § 875(c).

                                       COUNT 14

45.    Paragraphs 1-5 of this Indictment are incorporated by reference as if set out herein.

46.    On or about the July 1, 2024, at 6:18 p.m. Alaska time, in the District of Alaska,

the defendant, PANOS ANASTASIOU, transmitted and cause to be transmitted, a threat

to assault, kidnap, and murder Supreme Court Justices 1 and 2, Justices of the United


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States Supreme Court with intent to impede, intimidate, and interfere with Supreme Court

Justices 1 and 2 while engaged in the performance of official duties, and to retaliate

against Supreme Court Justices 1 and 2 on account of the performance of official duties.

47.    All of which is in violation of 18 U.S.C. §115(a)(1)(B).

                                       COUNT 15

48.    Paragraphs 1-5 of this Indictment are incorporated by reference as if set out herein.

49.    On or about the July 3, 2024, in the District of Alaska, the defendant PANOS

ANASTASIOU, knowingly and willfully did transmit in interstate and foreign commerce

from the State of Alaska, to the District of Columbia, a communication, which

communication contained a threat to murder Supreme Court Justices 1-6, specifically

threatening to execute them by assassination and beheading.

50.    All of which is in violation of 18 U.S.C. § 875(c).

                                       COUNT 16


51.    Paragraphs 1-5 of this Indictment are incorporated by reference as if set out herein.

52.    On or about the July 3, 2024, in the District of Alaska, the defendant, PANOS

ANASTASIOU, transmitted and cause to be transmitted, a threat to assault, kidnap, and

murder Supreme Court Justices 1-6, Justices of the United States Supreme Court with

intent to impede, intimidate, and interfere with Supreme Court Justices 1-6 while engaged

in the performance of official duties, and to retaliate against Supreme Court Justices 1-6

on account of the performance of official duties.

53.    All of which is in violation of 18 U.S.C. §115(a)(1)(B).



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                                       COUNT 17

54.    Paragraphs 1-5 of this Indictment are incorporated by reference as if set out herein.

55.    On or about the July 4, 2024, in the District of Alaska, the defendant PANOS

ANASTASIOU, knowingly and willfully did transmit in interstate and foreign commerce

from the State of Alaska, to the District of Columbia, a communication, which

communication contained a threat to murder Supreme Court Justices 1-6, specifically

threatening to execute them by varying means including drowning, firearms,

strangulation, and “lynching.”

56.    All of which is in violation of 18 U.S.C. § 875(c).

                                       COUNT 18

57.    Paragraphs 1-5 of this Indictment are incorporated by reference as if set out herein.

58.    On or about the July 4, 2024, in the District of Alaska, the defendant, PANOS

ANASTASIOU, transmitted and cause to be transmitted, a threat to assault, kidnap, and

murder Supreme Court Justices 1-6, Justices of the United States Supreme Court with

intent to impede, intimidate, and interfere with Supreme Court Justices 1-6 while engaged

in the performance of official duties, and to retaliate against Supreme Court Justices 1-6

on account of the performance of official duties.

       59.    All of which is in violation of 18 U.S.C. §115(a)(1)(B).

                                       COUNT 19


60.    Paragraphs 1-5 of this Indictment are incorporated by reference as if set out herein.

61.    On or about the July 5, 2024, in the District of Alaska, the defendant PANOS

ANASTASIOU, knowingly and willfully did transmit in interstate and foreign commerce

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from the State of Alaska, to the District of Columbia, a communication, which

communication contained a threat to murder Supreme Court Justices 1-6, specifically

threatening to assassinate, and encouraging others to assassinate them.

62.    All of which is in violation of 18 U.S.C. § 875(c).

                                       COUNT 20

63.    Paragraphs 1-5 of this Indictment are incorporated by reference as if set out herein.

64.    On or about the July 5, 2024, in the District of Alaska, the defendant, PANOS

ANASTASIOU, transmitted and cause to be transmitted, a threat to assault, kidnap, and

murder Supreme Court Justices 1-6, Justices of the United States Supreme Court with

intent to impede, intimidate, and interfere with Supreme Court Justices 1-6 while engaged

in the performance of official duties, and to retaliate against Supreme Court Justices 1-6

on account of the performance of official duties.

65.    All of which is in violation of 18 U.S.C. §115(a)(1)(B).

                                       COUNT 21

66.    Paragraphs 1-5 of this Indictment are incorporated by reference as if set out herein.

67.    On or about the July 11, 2024, in the District of Alaska, the defendant PANOS

ANASTASIOU, knowingly and willfully did transmit in interstate and foreign commerce

from the State of Alaska, to the District of Columbia, a communication, which

communication contained a threat to murder Supreme Court Justices 1-6, specifically

threatening to “lynch,” hang, and behead them.

68.    All of which is in violation of 18 U.S.C. § 875(c).




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                                       COUNT 22

69.    Paragraphs 1-5 of this Indictment are incorporated by reference as if set out herein.

70.    On or about the July 11, 2024, in the District of Alaska, the defendant, PANOS

ANASTASIOU, transmitted and cause to be transmitted, a threat to assault, kidnap, and

murder Supreme Court Justices 1-6, Justices of the United States Supreme Court with

intent to impede, intimidate, and interfere with Supreme Court Justices 1-6 while engaged

in the performance of official duties, and to retaliate against Supreme Court Justices 1-6

on account of the performance of official duties.

71.    All of which is in violation of 18 U.S.C. §115(a)(1)(B).

       A TRUE BILL.
                                             s/ Grand Jury Foreperson
                                             GRAND JURY FOREPERSON



s/ William Taylor
WILLIAM TAYLOR
Assistant U.S. Attorney
United States of America



s/ S. Lane Tucker
S. LANE TUCKER
United States Attorney
United States of America


DATE:         9/17/24




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